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                               SERVICES a/k/a NORTHLAND MECHANICAL
                          8    SOLUTIONS and SCIENCE CENTER DRIVE,
                               LLC
                          9

                         10                               UNITED STATES DISTRICT COURT

                         11                                       DISTRICT OF NEVADA

                         12
                               NEVADA CORPORATE                            CASE NO.: 2:18-cv-01842-JCM-GWF
                         13    HEADQUARTERS, INC., a Nevada
                               corporation,
                         14
                                                    Plaintiff,
                         15                                                NORTHLAND MECHANICAL
NEWMEYER & DILLION LLP




                               vs.                                         CONTRACTORS, INC. and SCIENCE
                         16                                                CENTER DRIVE, LLC’S OPPOSITION TO
                               SELLERS PLAYBOOK, INC., a                   PLAINTIFF’S MOTION TO REMAND TO
                         17    Minnesota Corporation; MATTHEW R.           STATE COURT
                               TIEVA, an individual; JESSIE C. TIEVA,
                         18    an individual; SELLERS ONLINE,
                               assumed named; SELLERS SYSTEMS,
                         19    assumed name; NORTHLAND
                               MECHANICAL CONTRACTORS, INC.,
                         20    a Minnesota Corporation a/k/a
                               NORTHLAND MECHANICAL
                         21    SERVICES a/k/a NORTHLAND
                               MECHANICAL SOLUTIONS; SCIENCE
                         22    CENTER DRIVE, LLC, a Minnesota
                               Limited Liability Company; EXPOSURE
                         23    MARKETING COMPANY, a Minnesota
                               Limited Liability Company; DOES I
                         24    through X and ROE Corporations or
                               Business Entities I through X, inclusive,
                         25
                                                    Defendants.
                         26
                         27   ///
                         28   ///
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                          1          Defendants NORTHLAND MECHANICAL CONTRACTORS, INC. and SCIENCE

                          2   CENTER DRIVE, LLC (“Northland” and “Science,” respectively), by and through their attorneys

                          3   of record, the law firm of Newmeyer & Dillion, LLP, hereby submit their Opposition to Plaintiff’s

                          4   Motion to Remand to State Court [ECF No. 15] (“Opposition”) and request that the same be denied

                          5   in its entirety. This Opposition is made based on the following points and authorities, the pleadings

                          6   and papers on file herein, and such other information as the Court may wish to consider.

                          7
                               Dated: this 12th day of October, 2018          NEWMEYER & DILLION LLP
                          8
                          9

                         10                                                   By: /s/Aaron D. Lovaas, Esq.
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                         16                                                       CONTRACTORS, INC. and SCIENCE
                                                                                  CENTER DRIVE, LLC.
                         17

                         18                       MEMORANDUM OF POINTS AND AUTHORITIES

                         19   I.     INTRODUCTION
                         20          Plaintiff, NEVADA CORPORATE HEADQUARTERS, INC.’s (“NCH”) Motion to
                         21   Remand to State Court (“Motion”) seeks remand under 28 U.S.C. § 1447(c) based on extraneous,
                         22   inconsequential jurisdictional arguments which do not support remand.
                         23          On August 22, 2018, NCH served Northland and Science with its Summons and Complaint
                         24   through their statutory agent in the State of Minnesota. See Summonses [ECF No. 1, pp. 5-8]. On
                         25   September 21, 2018, Northland and Science filed their Notice of Removal pursuant to 28 U.S.C.
                         26   §§ 1441(b) and 1446, asserting diversity jurisdiction under 28 U.S.C. § 1332(a). See Notice of
                         27   Removal [ECF No. 1]. Attached to the Notice of Removal were copies of all process, pleadings,
                         28
                                                                              -2-
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                          1   and orders in the action. Id.; see also 28 U.S.C. §§ 1441(a). Northland and Science then proceeded

                          2   to serve written notice to all parties of the removal of the case and electronically filed the same in

                          3   state court on September 24, 2018. The remaining Defendants joined and consented to removal on

                          4   October 3, 2018. See Joinder in and Consent to Notice of Removal [ECF No. 9].

                          5           Pursuant to 28 U.S.C. § 1446(a), Northland and Science included a short and plain statement

                          6   of the grounds for removal under 28 U.S.C. § 1332(a). Northland and Science are citizens of the

                          7   State of Minnesota, while NCH is a citizen of the State of Nevada. Further, the amount in

                          8   controversy exceeds $75,000, based on NCH’s representation that its damages are in excess of

                          9   $1,000,000.

                         10   II.     NCH’S MOTION MUST BE DENIED.

                         11           Northland and Science clearly demonstrate the requisite elements of diversity jurisdiction

                         12   under 28 U.S.C. § 1332 in the Notice of Removal. Accordingly, the Motion must be denied.

                         13           A.      Northland and Science Have Adequately Established Diversity Jurisdiction.

                         14           This Court’s diversity jurisdiction extends to “all civil actions where the matter in

                         15   controversy exceeds . . . $75,000 . . . and is between . . . [c]itizens of different States.” 28 U.S.C. §
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                         16   1332(a)(1). A notice of removal need only include a plausible allegation as to the citizenship of the

                         17   parties and “that the amount in controversy exceeds the jurisdictional threshold.” Ibarra v.

                         18   Manheim Investments, Inc., 775 F.3d 1193, 1197 (9th Cir. 2015) (citing Dart Cherokee Basin

                         19   Operating Co., LLC v. Owens, 135 S. Ct. 547, 554 (2014)). In determining the amount in

                         20   controversy, courts look first to the complaint. Ibarra, 775 F.3d at 1197 (citing St. Paul Mercury

                         21   Indem. Co. v. Red Cab Co., 303 U.S. 283, 289, 58 S. Ct. 586, 82 L.Ed. 845 (1938) (“the sum

                         22   claimed by the plaintiff controls if the claim is apparently made in good faith.”)). A removing

                         23   party’s notice of removal need not “meet a higher pleading standard than the one imposed on a

                         24   plaintiff in drafting an initial complaint.” Dart, 135 S. Ct. at 553 (citation omitted) (holding that

                         25   the legislative history of § 1446(a) shows that Congress borrowed the “short and plain statement”

                         26   standard from Rule 8(a)). “No evidentiary support is required, and the Court should accept a

                         27   defendant’s allegations unless they are contested by the plaintiff or questioned by the Court.” Id.

                         28           Northland and Science have properly demonstrated the diverse citizenship of the parties and
                                                                            -3-
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                          1   the amount in controversy. The Notice of Removal clearly states that Northland is a Minnesota

                          2   corporation with its principal place of business in the State of Minnesota. See Notice of Removal

                          3   [ECF No. 1]. See Johnson v. Columbia Prop. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006)

                          4   (“[A] corporation is a citizen only of (1) the state where its principal place of business is located,

                          5   and (2) the state in which it is incorporated.”); see also 28 U.S.C. § 1332(c)(1). The Notice of

                          6   Removal is also clear in stating that Science is a Minnesota limited liability company with its

                          7   principal place of business in the State of Minnesota and that the individual members thereof are

                          8   incorporated and/or organized in, has its principal place of business in, and/or resides in a state

                          9   other than Nevada. See Notice of Removal [ECF No. 1]; see Johnson, 437 F.3d at 899 (“an LLC is

                         10   a citizen of every state of which its owners/members are citizens.”) Moreover, the unrefuted

                         11   Declaration of Michael Tieva, previously filed in support of Northland and Science’s Motion to

                         12   Dismiss, clearly evidences the non-Nevada citizenship of these defendants. [ECF No. 7-1, ¶¶ 3-8].

                         13           Finally, Northland and Science referenced directly from the Complaint Plaintiff’s alleged

                         14   damages, alleged to be in excess of $1,000,000, which is above the statutory requirement of

                         15   $75,000. See 28 U.S.C. 1332(a).
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                         16           B.       NCH’s Jurisdictional Allegations are Insufficient to Warrant Remand.

                         17           NCH does not challenge Northland and Science’s averments of citizenship or the amount

                         18   in controversy. See generally, Motion to Remand [ECF No. 15]. That shortcoming alone should

                         19   preclude granting the Motion. Instead, NCH argues that “the matter should be remanded based

                         20   upon the agreement to jurisdiction. . .” contained within the SP & NCH Affiliate Lead Agreement

                         21   (the “Agreement”). See Motion to Remand [ECF No. 15, at 5, ll. 10-12]. NCH then argues issues

                         22   related to personal jurisdiction, which are not at issue in its Motion. Id. [ECF No. 15, at 6, ll. 1-13].

                         23   Neither argument is compelling.

                         24           NCH claims that the matter should be remanded based upon an Agreement between NCH

                         25   and a wholly separate defendant, Sellers Playbook, Inc.1 It is undisputed in this case that neither

                         26   Northland nor Science are parties to the Agreement that NCH argues should form the foundation

                         27
                              1
                               A corporation which Plaintiff concedes is a Minnesota corporation with its principal place of business in Minnesota.
                         28   Johnson, 437 F.3d at 899.
                                                                                      -4-
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                          1   of the sought-after remand order. Neither Northland nor Science are parties to any agreement with

                          2   any other party to this case that subjects either of them to jurisdiction or venue in Nevada. Even if

                          3   they were somehow regarded as parties to the Agreement, which they are not, the same clearly

                          4   provides that the forum agreed among its signatories is either the Eighth Judicial District Court of

                          5   Nevada or the federal courts located in the same location thereof. See Motion to Remand [ECF No.

                          6   15, at 5, ll. 12-15]. Hence, even if for some reason the Court were to consider the terms of the

                          7   Agreement in resolving NCH’s Motion to Remand, it is clear that the parties to the Agreement

                          8   agreed that the federal courts of the District of Nevada are a proper forum for the resolution of any

                          9   underlying dispute.

                         10          Next, NCH argues that remand is appropriate because “Defendants and/or their

                         11   representative owners have had systemic conduct and solicitation in the State of Nevada.” Id. [ECF

                         12   No. 15, at 6, ll. 8-10]. NCH’s contrived legerdemain in applying a personal jurisdiction argument

                         13   to issues of corporate citizenship is not only insufficient to support remand, but is a complete

                         14   misapplication of the law.

                         15          Finally, NCH’s weak suggestion that remand is somehow required so that the Eighth
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                         16   Judicial District Court can impose or enforce the ADR provisions of the Agreement is completely

                         17   irrelevant to the removal/remand/diversity jurisdiction issues before the Court. Again, Northland

                         18   and Science are not parties to the Agreement that NCH continuously references with no distinction

                         19   among the several defendants in this case. Northland and Science have no obligation to participate

                         20   in any ADR proceedings that may be required by an Agreement to which they are not parties. As

                         21   such, this topic is simply a red herring that warrants none of this Court’s attention.

                         22          NCH does not challenge that Northland and Science, or the individual members of Science,

                         23   are citizens of the State of Minnesota and other jurisdictions. NCH does not challenge its own

                         24   allegations as to the amount in controversy. As such, NCH presents no challenge to Northland’s

                         25   and Science’s assertion of diversity jurisdiction. Therefore, the Motion should be denied.

                         26   ///

                         27   ///

                         28   ///
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                          1   III.   CONCLUSION

                          2          For the foregoing reasons, Northland and Science respectfully request that this Court deny

                          3   the Motion to Remand to State Court in its entirety.

                          4
                               Dated: this 12th day of October, 2018           NEWMEYER & DILLION LLP
                          5

                          6
                                                                               By: /s/Aaron D. Lovaas, Esq.
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                         10                                                        Attorneys for Defendants
                                                                                   NORTHLAND MECHANICAL
                         11                                                        CONTRACTORS, INC. and SCIENCE
                                                                                   CENTER DRIVE, LLC.
                         12
                                                                CERTIFICATE OF SERVICE
                         13
                                     I, the undersigned, declare under penalty of perjury, that I am over the age of eighteen
                         14
                              (18) years, and I am not a party to, nor interested in, this action. On this date, I caused to be
                         15
NEWMEYER & DILLION LLP




                              served a true and correct copy of the foregoing NORTHLAND MECHANICAL
                         16
                              CONTRACTORS, INC and SCIENCE CENTER DRIVE, LLC’S OPPOSITION TO
                         17
                              PLAINTIFF’S MOTION TO REMAND TO STATE COURT via CM/ECF system to the
                         18
                              following:
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                               Harris Law Firm
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                         23    Ryan S. Petersen, Esq.
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                         26
                              DATED: October 12, 2018
                         27
                                                                             /s/Yolanda C. Nance
                         28                                                  An employee of Newmeyer & Dillion LLP
                                                                               -6-
